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                                                                                                      Luke Rosiak <                          >



  Daily Wire CRS FOIA
  Luke Rosiak <lrosiak@dailywire.com>                                                                             Thu, Aug 3, 2023 at 11:54 PM
  To: crs.foia@usdoj.gov

    Hi Melody,

    I request under FOIA all emails from, to, or CCing Hannah Levine of
    CRS (Hannah.Levine@usdoj.gov) between July 20, 2023 and the present.

    I request a media fee waiver as I am a full-time reporter for The
    Daily Wire and make this request in the public interest for the
    purpose of distilling and disseminating information. I'd like the
    documents via email.

    Thank you,
    Luke Rosiak




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